Case 2:07-cv-01017-MAM Document1 Filed 03/14/07 Page 1 of 13

JD

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

CHRISTINE FERRELL, as Parent and Legal Guardian of
BILLIE ORTIZ
Plaintiff JURY TRIAL
vs. DEMAND
SCHOOL DISTRICT OF PHILADELPHIA, PAUL
VALLAS, EXECUTIVE DIRECTOR; HAMILTON
DISSTON SCHOOL; HAMILTON DISSTON 5
VICE PRINCIPAL WILSON; HAMILTON 07 101%
DISSTON DISCIPLINARIAN PRENDERGAST;
HAMILTON DISSTON NURSE GREENLEE; C.A. No. 07-
HAMILTON DISSTON SECURITY GUARD FRED,
individually and as employees for the School District
Of Philadelphia and/or Hamilton Disston School
Defendants

 

 

COMPLAINT

 

I. JURISDICTION
1. This action is brought pursuant to 42 U.S.C. §§ 1331 and 1343(1),(3),(4) and

the aforementioned statutory provision.

Il. PARTIES
2. Plaintiff, Billie Ortiz is a minor female who was at all times relevant to this

Complaint, a resident of Philadelphia, Pennsylvania. Her mother, Christine Ferrell is

her natural parent and legal guardian.
3. Defendant School District of Philadelphia is a local agency in the

Commonwealth of Pennsylvania and at all times relevant hereto operated under the

color of state law in creating and maintaining the educational standards for children

attending public schools in Philadelphia, was the employer of all Defendants and had yw ™

C

i
—

>

-
Case 2:07-cv-01017-MAM Document1 Filed 03/14/07 Page 2 of 13

the responsibility of adopting policies, implementing procedures and practices to
educate the children of Philadelphia.

4. Defendant Hamilton Disston School is an agency in the Commonwealth of
Pennsylvania and at all times relevant hereto operated under the color of state law in
creating and maintaining the educational standards for children attending public
schools in Philadelphia, was the employer of all Defendants and had the responsibility
of adopting policies, implementing procedures and practices to educate the children of
Philadelphia.

5. Defendant Vallas, is and was at all times relevant to this Complaint, the
Executive Director for the School District of Philadelphia and acting under the color
of state law. He is being sued in both his individual and official capacities,

6. Defendant Wilson, is and was at all times relevant to this Complaint, a vice
principal for the Hamilton Disston School and acting under the color of state law. He
is being sued in both his individual and official capacities.

7. Defendant Prendergast, is and was at all times relevant to this Complaint, a
disciplinarian for the Hamilton Disston School and acting under the color of state law.
She is being sued in both her individual and official capacities.

8. Defendant Fred, is and was at all times relevant to this Complaint, a security
guard for the Hamilton Disston School and acting under the color of state law. He is

being sued in both his individual and official capacities.
Case 2:07-cv-01017-MAM Document1 Filed 03/14/07 Page 3 of 13

9. Defendant Greenlee, is and was at all times relevant to this Complaint, a
nurse for the Hamilton Disston School and acting under the color of state law. She is
being sued in both her individual and official capacities.

Iti. FACTS

10. In and around January, 2007, Plaintiff Billie Ortiz, a 14 year old female was
enrolled in the Hamilton Disston School as a student.

11. While in mathematics class on that date, she was ordered to proceed outside
in the hallway, where she was met by Defendant Wilson, Defendant Prendergast and
Defendant Fred.

12. While in the hallway she was informed by Defendants that they believed she
possessed drugs and the Defendants searched her book bag for narcotics without
Plaintiff's permission. After finding no narcotics, Plaintiff was ordered to return back
to her classroom.

13. Shortly after returning back to her classroom, the Defendants again came to
Plaintiff's classroom and ordered her to proceed to the Disciplinarian’s Office where
a further search was conducted. The Defendants searched Plaintiff's pockets and she
was ordered to remove her shoes and socks. The Defendants searched her shoes and
socks, finding no contraband.

14. Plaintiff was then escorted to the Nurse’s Office.

15. At the Nurse’s Office, Defendant Prendergast and Defendant Greenlee then

ordered Plaintiff to remove her clothes.
Case 2:07-cv-01017-MAM Document1 Filed 03/14/07 Page 4 of 13

16. Plaintiff was ordered to remove her pants and pull her shirt up to her neck
exposing her brassier and underwear. Defendant Prendergast then conducted a strip
search by physically placing her hands inside Plai ntiff’s underwear and feeling around
and her brassier touching her breast while searching for drugs.

17. No contraband was found.

18. Plaintiff's mother, Christina Ferrell was never contacted by Defendants
during the strip search.

19. The foregoing conduct of the Defendants, acting under the color of state law,
was undertaken in concert and conspiracy and as part of an effort to unlawfully strip
search Plaintiff and otherwise deprive Plaintiff of her civil and constitutional rights
including Plaintiff's rights, privileges and immunities under the Fourth and
Fourteenth Amendments to the United States Constitution and the laws of the
Commonwealth of Pennsylvania.

20. At no time did Plaintiff commit any offense against the laws of the
Commonwealth of Pennsylvania for which a strip search may be lawfully made. At no
time did Plaintiff commit any illegal acts or engage in any conduct, which in any way
justified the actions of all Defendants.

21. As a direct and proximate result of the Defendants’ actions, Plaintiff suffered
serious injury.

22. As a direct and proximate result of the Defendants’ actions, Plaintiff suffered
and continues to suffer serious mental anguish, psychological and emotional distress,

and pain and suffering, some or all of which may be permanent.
Case 2:07-cv-01017-MAM Document1 Filed 03/14/07 Page 5 of 13

23. As a direct and proximate result of the Defendants’ actions, Plaintiff was
detained and unlawfully strip searched without just or probable cause.

24. The actions of Defendants were undertaken in a menacing and arbitrary
manner, designed to cause Plaintiff fear, distress and embarrassment.

25. The acts of Defendants Wilson, Prendergast, Fred and Greenlee were
committed willfully, wantonly, maliciously, intentionally, outrageously, deliberately
and/or by conduct so egregious as to shock the conscience.

26. The acts and omissions of the undivided Defendants were committed without
cautious regard to due care, and with such wanton and reckless disregard of the
consequences as to show Defendants’ indifference to the danger of harm and injury.

27. The individual Defendants conspired to inflict harm on Plaintiff and deprive
her constitutional rights.

28. Defendants Wilson, Prendergast, Fred and Greenlee made statements to
officials in order to conceal their unlawful and unconstitutional conduct.

29. Defendants Wilson, Prendergast, Fred and Greenlee engaged in the aforesaid
conduct for the purpose of violating Plaintiff's constitutional rights by subjecting her
to unreasonable search and seizure, unlawful strip search, depriving Plaintiff of
property and liberty without due process of law.

30. As a direct and proximate result of the Defendants’ illegal and
unconstitutional actions, Plaintiff suffered pain, fear, anxiety, embarrassment, loss of
liberty, confinement, physical inj uries, severe emotional trauma, and the loss of the

enjoyment of life, all to her great detriment and loss.
Case 2:07-cv-01017-MAM Document1 Filed 03/14/07 Page 6 of 13

FIRST CAUSE OF ACTION
FEDERAL CIVIL RIGHTS VIOLATIONS

31. The allegations set forth in paragraphs 1-30 inclusive, are incorporated
herein as if fully set forth.

32. As a direct and proximate result of Defendants’ above described unlawful
and malicious conduct, committed under the color of state law, and while acting in
that capacity, the Defendants deprived Plaintiff of the equal protection of the laws and
Plaintiff's rights, privileges and immunities under the laws and the Constitution of the
United States. Plaintiff's right to be free from unreasonable searches and seizures,
strip searches, to be secure in one’s person and property, to access to the Courts, and
to due process and equal protection of the law, all to Plaintiff's great detriment and
loss. As a result, Plaintiff suffered grievous harm, in violation of her rights under the
laws and Constitution of the United States in particular the Fourth and Fourteenth
Amendments thereof, and 42 U.S.C. § 1983.

33. As a direct and proximate result of the acts and omissions of Defendants,
Plaintiff was forced to endure great pain and mental suffering, and was deprived of
physical liberty, all to Plaintiff's great detriment and loss.

34. The Schoo! District of Philadelphia and/or Hamilton Disston School
permitted, encouraged, tolerated, ratified and was deliberately indifferent to a pattern,
practice and custom of:

a, Unjustified, unreasonable and illegal use of any authority to conduct

strip searches of students;
Case 2:07-cv-01017-MAM Document1 Filed 03/14/07 Page 7 of 13

b. Abuse of powers, including harassment, improper searches and

unlawful strip searches;

c.

Psychologically or emotionally unfit persons serving as school officials;

and

d.

Failure of school officials to prevent, deter, report or take action against

the unlawful conduct of school officials under such circumstances as

presented herein.

35. Defendants, School District of Philadelphia and/or Hamilton Disston School

were deliberately indifferent to the need to:

a. Test its employees for emotional and psychological fitness to serve as

school officials;

. Monitor teachers and security officers whom it knew or should have

known were suffering from emotional and/or psychological problems

that impair their ability to function as school officials;

c. Train its school officials in the appropriate exercise of search functions;

d.

Facilitated, encouraged, tolerated, ratified, and/or was deliberately
indifferent to school officials using their status as employees
of the Hamilton Disston School to initiate actions by its employees

which are intended to harm its students, and

. Failure to properly train, supervise and discipline school officials and

other Hamilton Disston School employees with regard to practices,

which are, initiated which help and not harm its students.
Case 2:07-cv-01017-MAM Document1 Filed 03/14/07 Page 8 of 13

36. The School District of Philadelphia and/or Hamilton Disston School was
deliberately indifferent to the need for more or different training, supervision,
investigation or discipline in the areas of:

a. Use of search procedures of students by school officials force by police;
b, Exercise of school powers;

c. School officials with emotional or psychological problems; and

d. School officials’ use of their status as school officials to have students
unlawfully strip search students or to achieve ends not reasonably related
to their school duties.

37. The School District of Philadelphia and/or Hamilton Disston School failed
to properly sanction or discipline school officials, who are aware of and conceal
and/or aid and abet violations of constitutional rights of students by other school
officials, thereby causing and encouraging school officials, including the Defendant
school officials in this case, to violate the rights of students such as Plaintiff.

38. The foregoing acts, omissions, systemic deficiencies and deliberate
indifference to the danger or harm to students like the Plaintiff and the need for more
or different training, investigation and discipline are policies and customs of the
School District of Philadelphia and/or Hamilton Disston School and have caused
school officials, including Defendant school officials in this case, to believe that they
can violate the rights of students, with impunity, including the use of fraud and
falsehood and to believe that such conduct would be honestly and properly
investigated, all with the foreseeable result that school officials are more likely to

violate the constitutional rights of students.
Case 2:07-cv-01017-MAM Document1 Filed 03/14/07 Page 9 of 13

39. The actions of all Defendants, acting under the color of state law and/or in
concert or conspiracy with each other, deprived Plaintiff of her rights, privileges and
immunities under the laws and Constitution of the United States, in particular, the
rights to be secure in one’s person and property, to be free from unlawful searches,
unlawful strip searches and to due process of law.

40. Defendants, School District of Philadelphia and/or Hamilton Disston School
and the individual named Defendants, acting in concert and conspiracy with each
other, have by the aforementioned actions deprived Plaintiff of her constitutional and
statutory rights.

41. By these actions, all Defendants have deprived Plaintiff of her nghts secured
by the Fourth and Fourteenth Amendments to the United States Constitution in
violation of 42 U.S.C. § 1983.

PUNITIVE DAMAGES

42. Plaintiff re-alleges paragraphs 1-41 of this complaint as though fully set
forth herein.

43. The conduct of the individual Defendants was outrageous, malicious,
wanton, willful, reckless and intentionally designed to inflict harm upon Plaintiff.

44. As a result of the acts of the individual defendants alleged in the preceding
paragraphs, Plaintiff is entitled to punitive damages as to each cause of action.

JURY DEMAND
45. Plaintiff demands a jury trial as to each Defendant and as to each count.
WHEREFORE, plaintiff requests the following relief:

a. Compensatory damages;
Case 2:07-cv-01017-MAM Document1 Filed 03/14/07 Page 10 of 13

b. Punitive damages;

c. A declaratory judgment that the practices and policies complained of
are unconstitutional;

d. Reasonable attorney’s fees and costs; and

e. Such other and further relief as appears reasonable and just.

 

Philadelphia, PA 19106
Counsel for Plaintiff
Ca 7-Cv-01017-MAM Document1 Filed 03/14/07 Page 11 of 13

CIVIL COVER SHEET 9'7 10 1°¢

The JS 44 civil cover sheet and the 1 on. contained herein neither
by local rules of court. This form, approved by the Judicial Conference of the United
the civil docket sheet, (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

JS 44 (Rev. 11/04)

APPENDIX H

lace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
States in September 1974, is required for the use of the Clerk of Court for the puepons: of joitiating

 

 
 
   
   

  
  
 

I. (a) PLAINTIFFS DEFENDANTS
CHRIST a oe faaunir ancl Stoo. Disrtier oF PinApe
LLE ORTIZ.

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINT)

County of Residence of First Listed Defendant
(EN US. PLAINTIFF

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OE,
LAND INVOLVED,

Attomeys (If Known)

 

(c) eres pps Naess and Telephone Number)
its - oS
WD Fito tH lar Obe . 215-627-F Sb

   
  
 
 
  
 

 

 
 
 
 
 
 

 

 

 

 

 

 

 

 

 

 

  
 

VI. CAUSE OF ACTION

Vil. REQUESTED IN
COMPLAINT:

 

Il. BASIS OF JURISDIC (Place an “X" in One Box Only) Il. CITIZENSHIP OF CIPAD PARTIES Phice an “X” in One Box for Plaintiff
‘\ (For Diversity Cases ” and One Bax for Defendant)
DOL US)Govemment Question PTE PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State ted or Principal Place o4 O4
‘of Business In This State
O2 U.S :Government 44 Diversity Citizen of Another Suite 2 Incorporated and Principal Place os a5
ame (Indicate Citizenship of Parties in Item II) of Bupienes in Amie Stite
Citizen or Subject of a O3 © 43. Foreign Nation o6 O86
Foreign Country
IV. NATURE OF SUIT (ince an “X" in One Box
Coo oe aon)
OF 110 Insurance PERSONAL INJURY PERSONAL INJURY |( 610 Agriculture OF 422 Appeal 28 USC 158 1 400 State Reapportionment
CF 120 Marine 310 Airpline C362 Personal Injury- |) 620 Other Food & Drug 0 423 Withdrawal O 410 Antitrust
[130 Miller Aet 1 345 Airplane Product Med. Malprictice 625 Drug Related Seizure 28 USC 137 © 430 Banks am! Banking
0 140 Negotiable Instrument Liability O 365 Personal Injury - of Property 21 USC 881 © 450 Comenerce
6 150 Recovery of Overpayment | 320 Assault, Libel & Product Liability © 630 Liquor Laws 9 460 Deportation
& Enforcement of Judgment Slander (J 368 Asbestos Person) §=|[1 640 RR. & Truck CT #20 Copyrights © 470 Racketeer Influenced and
6 151 Medicare Act 330 Federal Employers* Injury Prodivct 1 650 Airline Regs. (9 830 Patent Corrupt Organizations
C1 152 Recovery of Defaulted Liability Liability (1 660 Occupational (7 840 Trademark C 480 Consumer Credit
Student Loans 340 Marine PERSONAL PROPERTY Safety/Health 490 Cable/Sat TV
(Excl. Votcrans) ©) 345 Marine Product © 370 Other Fraud (690 Other ( 810 Selective Service
17 153 Recovery of Overpayment Linbility O 371 Truth in Lending 11 850 Securitics/Commoditics!
of Veteran's Benefits 0 350 Motor Vehicle (9 380 Other Personal OF 710 Fair Labor Standards 0 861 HIA (13951) Exchange
1 160 Stockholders” Suits © 355 Motor Vehicle Property Damage Act 7 862 Black Luny (923) © 875 Customer Challenge
1 190 Other Conte: Product Liability OC} 385 Properny Damage 720 Labor’Mgmt. Relations C7 863 DIWC/DIWW (405(g)) 12 USC 3410
(7 195 Contract Product Liability | 360 Other Personal Product Liability 730 Labor/MgmtReporting | C1 864 SSID Title XVI (7 890 Other Stanmory Actions
0 196 Franchise Injury & Disclosure Act C1 86S RSI (405() (7 891 Agricultural Acts
OPER CIVIL RIGHTS i$} 0) 740 Railway Labor Act ‘ ( 892 Economic Stabilization Act
210 Land Condemnation 0 441 Voting ( $10 Motions to Vacate | 790 Other Labor Litigation | 870 Taxes (U.S, PlaintiiY ) 893 Environmental Matters
0 220 Foreclosure (O 442 Employment Sentence (7 791 Empl. Ret. Inc, or Defendant) (J 894 Energy Allocation Act
01 230 Rent Lease & Ejectment | 443 Housing! Habeas Corpus: Security Act 7 671 IRS—Third Party 9 895 Freedom of Information
OF 240 Torts to Land Accommodations $30 General 26 USC 7609 Act
©) 245 Tort Product Liabitity OF 444 Welfare O} 535 Death Penalty (1 S00Appeal of Fee Determination
6 290 All Other Real Property 0 445 Amer. w/Disubilities - [0 540 Mandamus & Other Linder Equal Access
- Employment ) 350 Civil Rights to Justice
6 Amer, w/Disabilities - | $55 Prison Condition (0 950 Constintionality of
ther State Statutes
in 44 Other Civil Rights
heal in One Box Oni Appeal to District
o2 O3 a4 C0 5 Transferred from yg iis OF 7 fise from
Removed from Remanded from Reinstated or another district Multidistrict Magistrate
State ! a __{specify) Litigution Judgment __

 

{] CHECK IF THIS IS A CLASS ACTION

UNDER F.R.C.P.

VIII. RELATED CASE(S)

 

 

(See instructions);

AMOUNT

23

JUDGE

DEMAND §

Reopened
Cite the U.S. Civil Statute un ich you are filing (Do not cite jurisdictional statutes unless diversity):
v USe =

Brief description of ca =

JURY DEMAND:

 

SIG hae ht RECARD |
uh vz
i

APPLYING IFP

JUDGE

=

defnunged in complaint:
ts ONo

DOCKET NUMBER MAR 14 2007

MAG, JUDGE
Case 2:07-cv-01017-MAM Document1 Filed 03/14/07 Page 12 of 13

ID UNITED STATES DISTRICT COURT 07 1017

FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel to indicate th
purpose of assignment to appropriate calendar. category of fhe case for the
fy aa

Address of Paintift 6G1£ (/Aal Di Ke ZREST
Address of Datendant: G£0/ COTTAGE BREET PHILA. fre

 

 

 

 

 

 

 

 

é
Place of Accident, incident or Transaction; 6£0/ COTTAGE DSRew 7 FAILA FF
(Use Reverse Side For Additional Space)
Does this case involve mulidistrict Itigation possibilities? YesL]
RELATED CASE, IF ANY:
Case Number: Judge Date Terminated:

Civil cases ae deemed miated when yes is answered to any of the following questions:
1. Js this case related to property included in an earlier numbered su pending or within one year previously terminated action in this court?
Yes) Nolo

2. Does this case involve the same issue of fact or grow out of the same transaction as @ prior suit pending a within one year previously terminated

action in this court?
Yes) Noli
3. Does this case involve the validity or inftingement of a patent already in sult eariler numbered within
terminated action in this court? rae case pending or within one year previously
Yes) Noe

 

CIVIL: (Place @ in ONE CATEGORY ONLY)

A. Federal Question Casex B. Diversity Juisdiction Casas:
1. 0 indemnity Contract, Marine Contract, and All Ofher Contracts 1. O insurance Contract and Other Contacts
2 O Feu 2. 0 Airptane Personal injury
3. O Jones Act-Personal injury 3. OF Assautt, Defamation
4, O Antitrust 4. 0 Marine Personal injury
5. O Patent 5. 0 Motor Vehicle Personal Injury
(2)snee ss 6. O) Other Personal injury (Please specify)
? Civil Rights 7. O Products Liability
8. Habeas Corpus 8. 0) Products Liability — Asbestos
9. O Securities Act(s) Cases 9. O Atother Diversity Casas
(Please specify)

10. 0 Social Security Review Cases
11. 0 Allother Federal Question Cases

 

(Please specify)
ARBITRATION CERTIFICATION
(Check appropriate Catagory)
I , counsel of record do hereby certify:
C Pursuant to Local CivilRule 53.2, Section 3(c)(2), that to the best of my end ballet, hed
exceed the sum of $150,000.00 exciusive of intewst and costs; — lamages recoverable in this civil action case
MAD 1A 9NNT7
MAR 1 4 2007

©) Relief other than monetary damages is sought.

a Attomey at-Law ~~ Atomay loa
NOTE: A trial de novo will be a trial by jury only if there has been compliance wih F.R.C.P. 38.

certifythat, to myknowledge, ths within caseis not related to anycase now p Ing or withinone year previouslyterminated action in thiscourl

ceed as =
ieee ae lid e Nierther Citete/ O/6 SF
Attomey-at-L aw Attormay 1.D.#

civ 409 (9.89)

DATE:

 

 
Case 2: j Document 1 Filed 03/14/07 Page 13 of 13

APPENDIX I
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

CHRISTINA FERRELL asf Ahent and CGAL
GURRDIAK) For Btu ORTIZ CIVIL ACTION

SCHoote DisrrieT” oF Yonavatinn, 07 10 17

eta/ : NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a case management track designation form specifying the track to
which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. $2241 through §2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits ( )

(c) Arbitration — Cases required to be designated for arbitration under Loval Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

management cases.) ( )
(£) Standard Management — Cases that do not fall into any one of the other tracks. (
ahd HicttAter Hi gigs Bitte ORT] a
ate / Attorney-at-law Attorney for

Z1S-627-45/6 2S -627-5106 P4230 Aol. cout

Telephone FAX Number E-Mail Address

MAR 1 4 2007

(Civ, 660) 1002
